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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                           CRIMINAL NO. 1:02cr94WJG-2

CHRISTOPHER DURWOOD THOMPSON


               ORDER GRANTING THE UNITED STATES OF AMERICA’S
             REQUEST TO DELAY DEFENDANT’S RELEASE FOR TEN DAYS


       THIS MATTER is before the Court on motion ore tenus of the United States of America

[United States] to delay Defendant Christopher Durwood Thompson’s release for ten days, and

the Court, having been fully advised in the premises, finds as follows:

       1. All parties have agreed that as a result of United States Sentencing Guidelines

       Amendment 706, as amended by Amendment 711, Defendant is eligible for a reduction in

       sentence, and all parties have executed an order to that effect.

       2. The United States requests that the release of Defendant be delayed for ten calendar

       days from the date of the filing of the Court’s Order granting the reduction. This period

       of delay will enable the Bureau of Prisons (1) to review the Defendant for possible civil

       commitment as a sexually dangerous person, as required by 18 U.S.C. § 4248; (2) to

       notify victims and witnesses of the release of an offender as required by 18 U.S.C. §

       3771; (3) to notify law enforcement officials and sex offender registration officials of the

       release of a violent offender or sex offender pursuant to 18 U.S.C. § 4042(b) and (c); and

       (4) to permit adequate time to collect DNA samples pursuant to 42 U.S.C. § 14135a.

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       The Court, having considered the United States’ motion finds that the motion is well

taken and should be granted. It is, therefore,

       ORDERED AND ADJUDGED that for the reasons set forth herein, Defendant

Christopher Durwood Thompson’s release from the Bureau of Prisons shall be delayed for ten

calendar days from the date of filing of this Order.

       SO ORDERED AND ADJUDGED this the 1st day of April, 2008.




                                                 UNITED STATES SENIOR DISTRICT JUDGE




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